      Case 19-16921-mdc         Doc 102Filed 12/01/22 Entered 12/02/22 13:54:25                Desc Main
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                               UNITED STATES BANKRUTPCY COURT
                           FOR THE EASTERN DISTRICT OF PENNSYLVANIA


       IN RE:                                       Chapter 13
       KIA R. HOLLAND



                              Debtor                Bankruptcy No. 19-16921-MDC



                                                    ORDER

                             1st
      AND NOW, this ____________                      December
                                      day of ___________________      2022, upon consideration of the Motion
to Dismiss Case filed by Kenneth E. West, Standing Trustee, and after notice and hearing, it is hereby
ORDERED that this case is DISMISSED and that any wage orders previously entered are VACATED.

      IT IS FURTHER ORDERED that any undisbursed funds held by the Chapter 13 Trustee from
 payments made on account of the Debtor’s plan shall be refunded to the Debtor unless a party in interest files a
 Motion for Alternative Disbursement within 21 days of the entry of this Order.



                                                           ______________________________
                                                           Magdeline D. Coleman
                                                           Chief U.S. Bankruptcy Judge

Kenneth E. West, Trustee
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